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                                                          CLERKS OFFICE U.S. DIST. COURT
                                                                               AT CHARLOTTESVILLE, VA
                                                                                     FILED
                                                                                  01/07/2020
                               UNITED STATES DISTRICT COURT                     JULIA C. DUDLEY, CLERK
                               WESTERN DISTRICT OF VIRGINIA                     BY: /s/ J. JONES
                                    CHARLOTTESVILLE DIVISION                       DEPUTY CLERK

    ELIZABETH SINES, et al.,
                                                      CASE NO. 3:17-cv-00072
                                     Plaintiffs,

                          v.                           ORDER

    JASON KESSLER, et al.,
                                                       JUDGE NORMAN K. MOON
                                     Defendants.



         This matter is before the Court on Plaintiffs’ Motion for Evidentiary Sanctions against

  Defendant Elliott Kline a/k/a Eli Mosley, filed December 6, 2019 (Dkt. 601). This matter is also

  before the Court on Defendant Christopher Cantwell’s “Motion for Extension to Object to

  Plaintiffs’ Motion for Evidentiary Sanctions,” filed on January 6, 2020 (Dkt. 614), in which

  Cantwell has sought an extension of time until January 13, 2020, to respond to Plaintiffs’ Motion

  for Evidentiary Sanctions.

         Finding it just and appropriate to do so, this Court hereby sets the following briefing

  schedule on such motion.

         Kline and any other defendant wishing to be heard on Plaintiffs’ Motion for Evidentiary

  Sanctions (Dkt. 601) shall file any response thereto by January 21, 2020.

         Plaintiffs shall file any reply in further support of their Motion for Evidentiary Sanctions

  by January 28, 2020.

         Accordingly, Cantwell’s Motion for Extension (Dkt. 614) is GRANTED IN PART to the

  extent that this Court has afforded him until January 21, 2020 to respond to Plaintiffs’ Motion.

         It is so ORDERED.
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        The Clerk of the Court is directed to send a certified copy of this Order to the parties.

        Entered this    7th   day of January, 2020.
